          Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 1 of 24                              FILED
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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

JANE DOE and JOHN DOE,                       )
                                             )
      Plaintiffs,                            )
                                             )
vs.                                          )       Civil Action No. 5:18-cv-2101-CLS
                                             )
STONERIDGE HOMES, INC.,                      )
et al.,                                      )
                                             )
      Defendants.                            )

                               MEMORANDUM OPINION

      Plaintiffs who identify themselves by use of the pseudonyms “Jane and John

Doe” filed this action on December 21, 2018,1 and filed an amended complaint on

January 7, 2019.2 They named the following defendants: Stoneridge Homes, Inc.

(“Stoneridge”); James O. Wright, the Chief Executive Officer of Stoneridge; and

American Southern Homes, LLC, the entity that owns Stoneridge.3 Plaintiffs assert

a federal claim under the Fair Housing Amendments Act of 1988, 42 U.S.C. § 3601

et seq. (the “FHAA”), and supplemental state law claims for breach of contract and

violation of the Alabama Deceptive Trade Practices Act. This opinion addresses

defendants’ motion to compel arbitration.4

      1
          Doc. no. 1 (Complaint).
      2
          Doc. no. 3 (Amended Complaint).
      3
          Id. ¶¶ 5-7.
      4
          Doc. no. 8. Defendants also filed a motion to dismiss pursuant to Federal Rules of Civil
           Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 2 of 24




       I. ALLEGATIONS OF PLAINTIFFS’ AMENDED COMPLAINT

       Plaintiff Jane Doe suffers from multiple medical conditions that impair her

ability to see and walk without mobility aids, including a wheelchair.5 She and her

husband John Doe first became interested in contracting with Stoneridge to build a

home in Phase 6 of the “Midtowne on the Park” subdivision located in Huntsville,

Alabama, during late February or early March of 2016.6 Phase 6 was not yet under

construction, but the Does nonetheless chose a floor plan and began to modify it to

accommodate Jane Doe’s disabilities while they waited on Phase 6 to open.7 When

Phase 6 did open in March of 2017, plaintiffs immediately notified the real estate

agent representing Stoneridge that they wanted to build a home, “and discussions

regarding Plaintiffs’ requested changes necessary for wheelchair accessibility

immediately ensued.”8

       Plaintiffs paid a deposit on April 9, 2017, and began working with a draftsman

to finalize their building plans.9 They signed a Purchase Agreement with Stoneridge



Procedure 12(b)(2) and 12(b)(6) and a motion to require plaintiffs to proceed in their true identities.
Doc. nos. 10 & 12. This court entered an order on March 4, 2019, stating that those motions would
be held in abeyance pending a decision on defendants’ motion to compel arbitration. Doc. no. 14.
       5
           Doc. no. 3 (Amended Complaint), ¶ 3.
       6
           Id. ¶ 9.
       7
           Id. ¶¶ 11-13.
       8
           Id. ¶ 14.
       9
           Id. ¶ 15.

                                                 -2-
           Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 3 of 24




on June 11, 2017, contracting to build a home on a lot in Phase 6 of Midtowne on the

Park, with specified modifications to accommodate Jane Doe’s accessibility needs.10

The modifications specified in the contract were not all implemented in the home, and

defendants Stoneridge and Wright either did not correct the errors when they were

identified, or they charged plaintiffs to make additional modifications.11

      Stoneridge and Wright informed plaintiffs on April 19, 2018, that they would

terminate the Purchase Agreement if plaintiffs did not agree to release defendants

from liability for their negligent and discriminatory acts.12 That was only eight days

prior to the scheduled closing date of April 27, 2018, when the Does’ mortgage rate

was scheduled to lock in, and eleven days prior to the date on which the Does were

scheduled to vacate their apartment.13 An attorney for Stoneridge “gave the Does an

ultimatum and a period of merely four (4) hours on April 20, 2018, in which to waive

their civil rights to avoid the unilateral termination of their contract, which the Does

refused to waive.”14 Stoneridge apparently did not terminate the contract on that date,

however, because an attorney for American Southern Homes, LLC, contacted

plaintiffs in June of 2018 to “insist[] that any resolution of the dispute concerning

      10
           Id. ¶¶16-17.
      11
           Doc. no. 3 (Amended Complaint), ¶¶ 18-21.
      12
           Id. ¶ 23.
      13
           Id. ¶ 24.
      14
           Id. ¶ 25.

                                             -3-
            Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 4 of 24




completion and sale of the subject dwelling would require Plaintiffs to waive and

release any and all claims of disability discrimination.”15 Plaintiffs assert that

defendants Stoneridge and Wright deceived the City of Huntsville by failing to

provide the City with updated building plans, which caused the City to issue a

certificate of occupancy for the home without being aware that certain accessibility

features had been omitted.16

       Plaintiffs filed a complaint against all defendants with the United States

Department of Housing and Urban Development (“HUD”) on July 5, 2018, and that

complaint remains pending.17 On September 27, 2018, after receiving notice of

plaintiffs’ HUD complaint, all defendants unilaterally terminated the Purchase

Agreement, “alleging false pretenses, such as a failure of the Does to communicate

with Defendants, and have been unsuccessfully attempting to return their contract

payments since that date.”18 John Doe informed defendants’ attorney by letter dated

September 28, 2018, that the unilateral termination of the Purchase Agreement

violated the face of the Agreement and was also a false and misleading trade practice




       15
            Id. ¶ 26 (alteration supplied).
       16
            Id. ¶ 27.
       17
            Doc. no. 3 (Amended Complaint), ¶ 28.
       18
           Id. ¶ 29. The Amended Complaint alleges that all defendants terminated the contract with
plaintiffs, even though the only parties to the contract were plaintiff and Stoneridge.

                                                -4-
           Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 5 of 24




under Alabama law.19 An attorney for American Southern Homes, LLC, informed the

Does on November 8, 2018, that “the waiver of the ability to enforce their civil rights

against Defendants was a condition precedent to allowing their subsidiary [i.e.,

Stoneridge] to sell the home[,] and cut off further conciliation or settlement

discussions.”20

      Plaintiffs claim that all defendants violated the FHAA by discriminating

against Jane Doe because of her disability; “coercing, intimidating, threatening, or

interfering with Plaintiffs in the exercise or enjoyment of” their FHAA rights; and

retaliating against plaintiffs for filing a HUD complaint.21 They request injunctions

to prevent future discrimination, and to require defendants to correct the construction

errors and convey the home to plaintiffs. They also request compensatory damages,

punitive damages, and attorney fees.22 Plaintiffs also claim that Stoneridge and

Wright breached the Purchase Agreement by failing to properly complete

construction of the home and convey title to them.23 For that claim, they seek specific

performance of the Purchase Agreement and compensatory, consequential, and



      19
           Id. ¶ 30.
      20
           Id. ¶ 31 (alterations supplied).
      21
           Id. ¶ 39.
      22
           Id. ¶ 41.
      23
           Doc. no. 3 (Amended Complaint), ¶ 44.

                                              -5-
            Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 6 of 24




incidental damages.24 Finally, plaintiffs claim that defendants Stoneridge and Wright

violated the Alabama Deceptive Trade Practices Act by unilaterally terminating the

Purchase Agreement under false and misleading pretenses in order to interfere with

plaintiffs’ civil rights and avoid the expense of correcting the construction errors

identified by plaintiffs.25 For that claim, they seek damages, attorney fees, and

costs.26

    II. RELEVANT PROVISIONS OF THE PURCHASE AGREEMENT

       The Purchase Agreement executed by plaintiff and Stoneridge on June 11,

2017, contains the following provision:

                 21. Arbitration: It is hereby agreed that all claims, disputes
       and controversies between Buyer [i.e., John and Jane Doe] and Seller
       [i.e., Stoneridge] arising from or related to the subject home, identified
       herein, or to any defect in or to the subject home or the real Property on
       which the subject home is situated, or the sale of the subject home by
       Seller, including but not limited to any claim for breach of contract,
       negligent or intentional misrepresentation, excluding only those claims
       by Seller against Buyer for Buyer’s breach of this Agreement, shall be
       submitted to binding arbitration by and pursuant to the arbitration
       provision contained in the Limited Warranty Agreement, as of the
       Effective Date27 (Federal Arbitration Act (9 U.S.C. §§ 1-6)). A copy of

       24
            Id. ¶ 50.
       25
          Id. ¶ 53. Ala. Code § 8-19-5 makes it illegal to “[e]ngag[e] in any other unconscionable,
false, misleading, or deceptive act or practice in the conduct of trade or commerce.” (alterations
supplied).
       26
            Id. ¶ 55.
       27
         The “Effective Date” refers to the date on which the “Agreement becomes effective when
executed by all parties, when Seller receives the Construction Commitment Fee paid by Buyer, and
when the Plans, Specification/Selection Sheets have been signed by both Seller and Buyer.” Doc.

                                                -6-
        Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 7 of 24




       the Limited Warranty Agreement has been made available to Buyer, and
       is incorporated herein by reference, and made a part of this Agreement.

Doc. no. 3-1 (Purchase Agreement), § 21 (alterations supplied).

       The Purchase Agreement also states:

              4. Addendums, Exhibits and Documents Available on
       Website: Additional addendums may be executed by the parties hereto
       from time to time. The additional addendums shall amend and become
       a part of this Agreement, and all of the terms and provisions of such
       addendums shall be incorporated herein by this reference upon
       execution of such may include, but shall not be limited to the following:

              A.     Plans
              B.     Specification/Selection Sheets
              C.     Sales Agreement Addendum(s)
              D.     Change Order(s)
              E.     Contract Summary/Addendum
              F.     New Home Presentation Agreement
              G.     Limited Warranty Agreement
              H.     2-10 Warranty Addendum

             Buyer acknowledges that the following documents referenced in
       th is Agreement are available on Seller’s website,
       www.stoneridgehomesinc.com, or if Buyer desires, Seller shall make
       available to Buyer hard copies of the following materials, of which
       Buyer is assumed to have read and accepted prior to execution of this
       Agreement:

              A.     New Home Presentation Agreement
              B.     2-10 Warranty Sample Booklet
              C.     Limited Warranty Agreement
              D.     Residential Construction Performance Guidelines
              E.     Declaration of Covenants, Conditions and Restrictions for
                     the applicable community, together with any amendments.

no. 3-1 (Purchase Agreement), § 1.

                                          -7-
            Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 8 of 24




             For purposes of this Agreement, where appropriate, the Limited
       Warranty Agreement, 2-10 Warranty and the Residential Construction
       Performance Guidelines shall be collectively referred to as the “Builder
       Guidelines.” To the extent there are any contradictory provisions in the
       Limited Warranty Agreement, 2-10 Warranty and the Residential
       Standard Performance Guidelines, the contradictory language shall be
       resolved with preference given to the language in the Limited Warranty,
       then the 2-10 Warranty and finally the Residential Standard
       Performance Guidelines.

Doc. no. 3-1 (Purchase Agreement), § 4. One footnote omitted from the foregoing

citations states that “[i]f any of the documents are not available on the website, Buyer

acknowledges that same are available at the office of Seller.”28

       The record does not contain an executed copy of the Limited Warranty

Agreement, 2-10 Warranty Addendum, or 2-10 Warranty Sample Booklet. Plaintiffs

explained in their declarations that those documents would have been executed at

closing, but closing has not yet occurred.29

       The unexecuted copy of the Limited Warranty Agreement that is attached to

defendants’ motion to compel arbitration does not explicitly mention arbitration.30

Instead, the introductory clause of the Limited Warranty Agreement states:

             WHEREAS, Seller and Buyer on this same day entered into a
       Purchase and Sale Agreement (the “Contract”) of which this Limited
       28
            Doc. no. 3-1 (Purchase Agreement), § 4 n.3 (alteration supplied).
       29
         Doc. no. 15-1 (Declaration of John Doe), ¶ 9 (“Because we were not allowed to close on
the house, the ‘Limited Warranty Agreement’ and ‘2-10 Home Buyers Warranty Application’ were
never executed.”); doc. no. 15-2 (Declaration of Jane Doe), ¶ 9 (same).
       30
            See doc. no. 8-1 (Limited Warranty Agreement).

                                                 -8-
            Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 9 of 24




       Warranty Agreement (per the terms of the 2-10 Home Buyers Warranty
       or the 2-10 HBS) is a part, for the sale by Seller and the purchase by
       Buyer of a house (the “Dwelling”) located upon that certain parcel of
       real property located in ____________ County, Alabama, the address of
       which is ____________________________ . . . .

Doc. no. 8-1 (Limited Warranty Agreement), at ECF 5 (emphasis supplied). Plaintiffs

and defendants all acknowledge that plaintiffs had access to the Limited Warranty

Agreement prior to signing the Purchase Agreement on June 11, 2017, either through

the Stoneridge website or otherwise.31

       An unexecuted copy of the 2-10 Home Buyers Warranty Application also is

attached to defendants’ motion to compel arbitration. It states, in pertinent part:

              Buyer(s) agree that any and all claims or disputes between him
       (them) and the Builder/Seller (including any person you contend is
       responsible for a defect in your home) arising from or relating to the
       Warranty, shall be submitted to binding arbitration pursuant to the
       Federal Arbitration Act (9 U.S.C. §§ 1-16). By signing below, Buyer
       acknowledges reading the 2-10 HBW Warranty Booklet, and
       CONSENTS TO THE TERMS OF THAT DOCUMENT
       INCLUDING THE BINDING ARBITRATION PROVISION
       contained therein. Buyer(s) accepts the 2-10 HBW Warranty and in
       return, waives the Builder/Seller’s implied warranty of habitability,
       merchantability or fitness to the extent allowed by law.

Doc. no. 8-1, at ECF 12 (2-10 Home Buyers Warranty Application) (emphasis in

original). Plaintiffs testified that the 2-10 Home Buyers Warranty Application was

       31
          Doc. no. 8-1 (Declaration of Kim Wright), ¶ 8 (“Copies of the Limited Warranty
Agreement . . . were made available to the plaintiffs, on or before June 11, 2017.”); doc. no. 15-1
(Declaration of John Doe), ¶ 7 (acknowledging that “the ‘Limited Warranty Agreement’” was
“available on Stoneridge Homes’ website”); doc. no. 15-2 (Declaration of Jane Doe), ¶ 7 (same).

                                               -9-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 10 of 24




not made available to them on Stoneridge’s website, or by any other means, before

they signed the Purchase Agreement.32

      A copy of the 2-10 Home Buyers Warranty Booklet also was attached to

defendants’ motion to compel arbitration. The section governing the Arbitration of

Disputes states:

              To expedite the resolution of any and all claims, disputes and
      controversies involving You, the Builder/Seller, 2-10 HBW, and/or the
      Warranty Insurer arising out of or otherwise relating to this Warranty or
      the 2-10 HBW Program shall be settled by binding arbitration pursuant
      to this self-executing arbitration agreement. Agreeing to arbitration
      means You are waiving your right to a jury trial, class action or
      consolidation. Any party shall be entitled to recover reasonable
      attorney’s fees and costs incurred in enforcing this arbitration
      agreement. The decision of the arbitrator shall be final and binding and
      will, if necessary, be entered as a judgment in any State or Federal court
      of competent jurisdiction.

      A.        SELECTING AN ARBITRATION SERVICE.

             The arbitration shall be conducted by DeMars & Associates, Ltd.
      (“DeMars”) or Construction Dispute Resolution Services, LLC
      (“CDRS”). The choice of DeMars or CDRC [sic] shall be Yours, or if
      You are not involved, the party who initiates the arbitration. The
      arbitrating parties, by mutual agreement, may select an arbitration
      service other than DeMars or CDRC [sic].

             The arbitration shall be conducted in accordance with the
      arbitration rules in effect with the selected arbitration service. If the
      state where the Home or Multi-Family Building is located has a statute
      which mandates that arbitrators provide certain disclosures relating to
      32
           Doc. no. 15-1 (Declaration of John Doe), ¶ 7; doc. no. 15-2 (Declaration of Jane Doe), ¶
7.

                                                -10-
Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 11 of 24




their partiality and/or biases, the selected arbitrator shall be obliged to
provide such disclosures and may be disqualified and replaced pursuant
to the procedure set forth in the applicable state’s statute relating to
disqualifying potentially biased arbitrators. The disqualification of an
arbitrator will not relieve any party bound by this arbitration agreement
of the obligation to arbitrate all disputes. Following any disqualification
of an arbitrator, the parties will arbitrate before a replacement arbitrator.

       No arbitration arising out of or otherwise relating to this Warranty
or the 2-10 HBW Program shall involve more than one Home or more
than one Multi-Family Building. The arbitrator shall prepare a written
arbitration award which sets forth his or her factual findings and the
reasons on which his or her decision is based.

B.     DISPUTES CONCERNING THE APPLICATION OF THIS
       ARBITRATION AGREEMENT.

       The Federal Arbitration Act (9 U.S.C. § 1 et seq., (“FAA”)) shall
govern the meaning and enforceability of this arbitration agreement to
the exclusion of any state law relating to the meaning or enforceability
of arbitration clauses or agreements. Any disputes concerning the
interpretation or enforceability of this arbitration agreement, including
without limitation, its revocability or voidability for any cause, the scope
of arbitrable issues, and any defense based upon waiver, estoppel or
laches, shall be decided by the parties’ appointed arbitrator.

C.     COST OF ARBITRATION.

       All administrative fees of the arbitration service and fees of the
arbitrator shall be equally allocated among the arbitrating parties,
subject to the discretion of the arbitrator to reallocate such fees as
warranted under the substantive law governing the parties’ controversy.

D.     AUTHORITY OF ARBITRATOR.

       The arbitrator shall not have the power to commit errors of law or
legal reasoning. Thus, with regard to the tort, contract, statutory, or

                                    -11-
        Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 12 of 24




       equitable dispute arising out of or otherwise relating to this Warranty or
       the 2-10 HBW program, the arbitrator shall render an award in
       accordance with the substantive law governing the claims, disputes
       and/or controversies being prosecuted by the claimant. Specifically, the
       arbitrator is authorized to award all relief that would otherwise be
       available in a judicial forum to the claimant or respondent if the parties’
       controversy were litigated in court rather than in an arbitral proceeding.

Doc. no. 8-1, at ECF 24, § VI (boldface and capitalization in original). Plaintiffs and

defendants all acknowledge that plaintiffs had access to the 2-10 Home Buyers

Warranty Booklet prior to signing the Purchase Agreement on June 11, 2017, either

through the Stoneridge website or otherwise.33

                                    III. DISCUSSION

       The Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA” or “the Act”),

establishes a national policy favoring arbitration of disputes. See, e.g.,

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220 (1987). Although there

is a presumption of arbitrability under the Act, “‘the presumption does not apply to

disputes concerning whether an agreement to arbitrate has been made.’” Bazemore

v. Jefferson Capital Systems, LLC, 827 F.3d1325, 1329 (11th Cir. 2016) (quoting

Dasher v. RBC Bank (USA), 745 F.3d 1111, 1116 (11th Cir. 2014)). “The threshold

question of whether an arbitration agreement exists at all is ‘simply a matter of

       33
          Doc. no. 8-1, at ECF 2 (Declaration of Kim Wright), ¶ 8 (“Copies of the . . . 2-10 HBW
Booklet were made available to the plaintiffs, on or before June 11, 2017.”); doc. no. 15-1
(Declaration of John Doe), ¶ 7 (acknowledging that “the ‘2-10 Warranty Sample Booklet’” was
“available on Stoneridge Homes’ website”); doc. no. 15-2 (Declaration of Jane Doe), ¶ 7 (same).

                                             -12-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 13 of 24




contract.’” Bazemore, 827 F.3d at 1329 (quoting First Options of Chicago, Inc. v.

Kaplan, 514 U.S. 938, 943 (1995)). Where there is no agreement, the parties cannot

be compelled to arbitrate. Bazemore, 827 F.3d at 1329; Klay v. All Defendants, 389

F.3d 1191, 1200 (11th Cir. 2004).

      Despite defendants’ suggestion otherwise, the question of whether there is a

valid arbitration agreement must be answered by this court, not by the arbitrator. It

is true that the Supreme Court recently reaffirmed the enforceability of parties’

agreements for an arbitrator to decide whether particular disputes are subject to

arbitration under a valid arbitration agreement. Henry Schein, Inc. v. Archer & White

Sales, Inc., – U.S. –, 139 S. Ct. 524, 529 (2019) (“When the parties’ contract

delegates the arbitrability question to an arbitrator, a court may not override the

contract. In those circumstances, a court possesses no power to decide the arbitrability

issue.”). Even so, the Court made it clear that any preliminary disputes about the

validity of the arbitration agreement must be resolved by the court. See id. at 530

(“To be sure, before referring a dispute to an arbitrator, the court determines whether

a valid arbitration agreement exists.”) (citing 9 U.S.C. § 2).

      Plaintiffs do not appear to dispute that, if the arbitration provision contained

within the Purchase Agreement is valid, it would cover their claims, or that it would

extend to the claims against James Wright and American Southern Homes, LLC, even

                                          -13-
         Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 14 of 24




though the only signatories to the Purchase Agreement were plaintiffs and

Stoneridge.34

        Instead, plaintiffs focus their briefing upon the argument that “no valid and

enforceable arbitration agreement yet exists between the parties.”35 The existence of

a valid contract to arbitrate is determined by state law. See First Options of Chicago,

Inc. v. Kaplan, 514 U.S. 938, 944 (1995).

        There are two prerequisites for a valid arbitration contract under Alabama law:

“(1) there must be a written agreement calling for arbitration and (2) the contract in

which the arbitration agreement appears must relate to a transaction involving


        34
           Defendants argued in their motion to compel arbitration that James Wright and American
Southern Homes, LLC, are entitled to enforce the arbitration agreement even though they did not
sign it, because Wright, the CEO of Stoneridge, was acting as an agent of Stoneridge at all relevant
times, and because the claims against American Southern Homes, LLC, are inextricably intertwined
with the claims against Stoneridge. See Jenkins v. Atelier Homes, Inc., 62 So. 3d 504, 512 (Ala.
2010) (“Arbitration may be compelled ‘under the doctrine of “intertwining,” where arbitrable and
nonarbitrable claims are so closely related that the party to a controversy subject to arbitration is
equitably estopped to deny the arbitrability of the related claim.’”) (citing Fountain v. Ingram, 926
So.2d 333, 335 (Ala. 2005) ((in turn quoting Conseco Financial Corp. v. Sharman, 828 So.2d 890,
893-94 (Ala. 2001))); Monsanto Co. v. Benton Farm, 813 So. 2d 867, 874 (Ala. 2001) (holding that
“an agent who has incurred liability for his principal by acting in the line and scope of his
employment also ‘stands in the shoes’ of his principal with respect to the principal’s rights in the
transaction, including the right to enforce a valid arbitration agreement). Plaintiffs did not respond
to either of those well-founded arguments in their response brief, and therefore abandoned their right
to contest the arguments. See Resolution Trust Corp. v. Dunmar Corp., 43 F.3d 587, 599 (11th Cir.
1995) (“The onus is upon the parties to formulate arguments; grounds alleged in the complaint but
not relied upon in summary judgment are deemed abandoned.”) (citing Road Sprinkler Fitters Local
Union No. 669 v. Independent Sprinkler Corp., 10 F.3d 1563, 1568 (11th Cir.1994) (in turn citing
Lazzara v. Howard A. Esser, Inc., 802 F.2d 260, 269 (7th Cir.1986))).
        35
             Doc. no. 15 (Plaintiff’s Brief in Opposition to Defendants’ Motion to Compel Arbitration),
at 2.

                                                   -14-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 15 of 24




interstate commerce.” Prudential Securities v. Micro-Fab, Inc., 689 So. 2d 829, 832

(Ala. 1997) (citing Maxus, Inc. v. Sciacca, 598 So. 2d 1376 (Ala. 1992)). There has

been no dispute, nor could there reasonably be, that the contract to construct

plaintiffs’ home related to a transaction involving interstate commerce. Thus, the

only remaining question is whether there was a valid written agreement to arbitrate.

Plaintiffs argue that the arbitration clause is invalid for three reasons: (1) there was

no mutual assent to its terms; (2) it violates their Seventh Amendment rights to a jury

trial; and (3) it is unconscionable.

A.    Mutual Assent

      Mutual assent to the contract terms is an essential element of a valid contract.

Stacey v. Peed, 142 So. 3d 529, 531 (Ala. 2013) (citing Hargrove v. Tree of Life

Christian Day Care Center, 699 So. 2d 1242, 1247 (Ala. 1997)). Plaintiffs do not

dispute the intent of both parties to be bound by the Purchase Agreement generally;

indeed, their entire case is based upon a breach of essential terms of that Agreement.

Instead, they argue that mutual assent was lacking only with regard to the arbitration

clause in § 21 of the Agreement.

      Plaintiffs argue that the arbitration clause contains an ambiguity, because it

incorporates the Limited Warranty Agreement:

             It is hereby agreed that all claims. . . shall be submitted to binding

                                          -15-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 16 of 24




      arbitration by and pursuant to the arbitration provision contained in the
      Limited Warranty Agreement . . . . A copy of the Limited Warranty
      Agreement has been made available to Buyer, and is incorporated herein
      by reference, and made a part of this Agreement.

Doc. no. 3-1 (Purchase Agreement), § 21 (emphasis and ellipses supplied). Because

the Limited Warranty Agreement does not explicitly mention arbitration, plaintiffs

assert that the arbitration clause makes a meaningless reference to a nonexistent

provision. But the Limited Warranty Agreement incorporates the terms of the 2-10

Home Buyers Warranty, and the Warranty Booklet contains detailed provisions

governing arbitration. Those other documents contain sufficient information to add

meaning to the arbitration clause’s reference to the Limited Warranty Agreement.

Plaintiffs have cited no authority, and the court knows of none, to support the

proposition that incorporation of other documents renders a contract ambiguous.

Thus, there is no merit to plaintiffs’ argument that “the agreement to arbitrate is . . .

patently ambiguous by incorporation of nonexistent terms.”36

      Plaintiffs also argue that they did not assent to the arbitration because neither

the Limited Warranty Agreement, nor or any document referencing the 2-10

Warranty, whether it be called an “Application,” “Addendum,” or “Booklet,” was

ever signed. It is true that § 4 of the Purchase Agreement states that various addenda



      36
           Id. at 9 (ellipsis supplied).

                                           -16-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 17 of 24




shall be incorporated by reference into the Agreement upon their execution.37 But

that same section of the Purchase Agreement goes on to state that plaintiffs were

“assumed to have read and accepted” the Limited Warranty Agreement and 2-10

Warranty Sample Booklet prior to executing the Purchase Agreement.38 There is no

reason to read the first part of § 4 to nullify the second part, or to nullify the

arbitration clause simply because the Limited Warranty Agreement and 2-10

Warranty documents were not signed. See Regions Bank v. BP P.L.C., 200 So. 3d 1,

10 (Ala. 2016) (citing Board of Water & Sewer Commissioners of City of Mobile v.

Bill Harbert Construction Co., 870 So. 2d 699, 710 (Ala. 2003)) (“[T]he law is settled

that this Court is bound to construe contracts so as to give meaning to all provisions

whenever possible.”) (alteration supplied).

      In any event, the arbitration clause in the Purchase Agreement does not need

the Limited Warranty Agreement or the 2-10 Home Buyers Warranty documents in

order to be enforceable. Even standing alone, the arbitration clause reflects a clear

intent by both parties to submit all claims relating to plaintiffs’ home, or any defects

in the home’s construction, to binding arbitration. The reference to the Limited

Warranty Agreement provides procedural detail about how the arbitration is to be



      37
           Doc. no. 3-1 (Purchase Agreement), § 4.
      38
           Id. (emphasis supplied).

                                              -17-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 18 of 24




conducted, but that detail is not necessary to the formation of a valid agreement to

arbitrate. There is no indication that the specifics of the arbitration procedure

(including the selection of the arbitration service, the form of the arbitration award,

the costs of arbitration, and the extent of the arbitrator’s authority) were essential to

plaintiffs’ decision to agree to arbitration. See Stinson v. America’s Home Place, Inc.,

108 F. Supp. 2d 1278, 1284-85 (M.D. Ala. 2000) (quoting Brown v. ITT Consumer

Financial Corp., 211 F.3d 1217, 1220 (11th Cir. 2000) (in turn quoting Zechman v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 742 F. Supp. 1359, 1364 (N.D.

Ill.1990))) (“Only if the choice of forum is an integral part of the agreement to

arbitrate, rather than an ‘ancillary logistical concern’ will the failure of the chosen

forum preclude arbitration.”) (citations and internal quotation marks omitted); South

Alabama Pigs, LLC v. Farmer Feeders, Inc., 305 F. Supp. 2d 1252, 1261-62 (M.D.

Ala. 2004) (holding that an arbitration provision was enforceable even though it did

not specify a manner for selecting arbitrators, state whether arbitration would be

binding, or provide any details for how the arbitration should be conducted);

Robertson v. Mount Royal Towers, 134 So. 3d 862, 868 (Ala. 2013) (rejecting the

argument that “arbitration agreements are too vague to be enforced because they

make only a general call for arbitration without providing any details regarding the

selection of an arbitrator or arbitrators or the applicable rules of arbitration”).

                                          -18-
        Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 19 of 24




       In summary, the arbitration clause clearly reflects the parties’ intent to submit

disputes to arbitration, and it cannot be invalidated for lack of mutual assent.

B.     Seventh Amendment Right to a Jury Trial

       The Seventh Amendment provides: “In Suits at common law, where the value

in controversy shall exceed twenty dollars, the right of trial by jury shall be preserved,

and no fact tried by a jury, shall be otherwise reexamined in any Court of the United

States, than according to the rules of the common law.” U.S. Const. amend. VII.

Plaintiffs argue that being compelled to arbitrate their claims against defendants

violates their Seventh Amendment rights, and that there has been no valid waiver of

those rights.39 That argument is meritless because it well-settled that, “where a party

enters into a valid agreement to arbitrate, the party is not entitled to a jury trial or to

a judicial forum for covered disputes.” Caley v. Gulfstream Aerospace Corp., 428

F.3d 1359, 1372 (11th Cir. 2005).

C.     Unconscionability

       Plaintiffs also argue that the arbitration clause is unenforceable because it is

unconscionable.

       39
         Plaintiffs also mention their right to a jury trial under the Alabama Constitution, but that
right does not need to be separately addressed. “Alabama cases have held that the Seventh
Amendment is not materially different from Article I, § 11 of the Alabama Constitution.” Eason v.
Bynon, 781 So. 2d 238, 241 (Ala. Civ. App. 2000) (citing Poston v. Gaddis, 335 So. 2d 165 (Ala.
Civ. App.), cert. denied, 335 So. 2d 169 (Ala.1976)).


                                                -19-
Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 20 of 24




“Unconscionability is an affirmative defense, Green Tree Fin. Corp. v.
Wampler, 749 So. 2d 409, 415 (Ala. 1999), and the party asserting the
defense bears the burden of proof. Ex parte Napier, 723 So. 2d 49, 52-
53 (Ala. 1998).” Fleetwood Enters., Inc. v. Bruno, 784 So. 2d 277, 281
(Ala. 2000). “To avoid an arbitration provision on the ground of
unconscionability, the party objecting to arbitration must show both
procedural and substantive unconscionability.” Blue Cross Blue Shield
of Alabama v. Rigas, 923 So. 2d 1077, 1087 (Ala. 2005) (emphasis
added). In Rigas, this Court explained:

      “Substantive unconscionability

            “‘“relates to the substantive contract terms themselves and
            whether those terms are unreasonably favorable to the
            more powerful party, such as terms that impair the integrity
            of the bargaining process or otherwise contravene the
            public interest or public policy; terms (usually of an
            adhesion or boilerplate nature) that attempt to alter in an
            impermissible manner fundamental duties otherwise
            imposed by the law, fine-print terms or provisions that seek
            to negate the reasonable expectations of the nondrafting
            party, or unreasonably and unexpectedly harsh terms
            having to do with price or other central aspects of the
            transaction.”’

      “Ex parte Thicklin, 824 So. 2d 723, 731 (Ala. 2002) (emphasis
      omitted) (quoting Ex parte Foster, 758 So. 2d 516, 520 n. 4 (Ala.
      1999), quoting in turn 8 Richard A. Lord, Williston on Contracts
      § 18:10 (4th ed. 1998)). See also Leeman v. Cook’s Pest Control,
      Inc. , 902 So. 2d 641 (Ala. 2004).

             “Procedural unconscionability, on the other hand, ‘deals
      with “procedural deficiencies in the contract formation process,
      such as deception or a refusal to bargain over contract terms,
      today often analyzed in terms of whether the imposed-upon party
      had meaningful choice about whether and how to enter into the
      transaction.”’ Thicklin, 824 So. 2d at 731 (quoting Foster, 758 So.
      2d at 520 n. 4, quoting in turn 8 Williston on Contracts § 18:10).”

                                  -20-
        Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 21 of 24




       923 So. 2d at 1086-87.

SCI Alabama Funeral Services, LLC v. Hinton, 260 So. 3d 34, 38-39 (Ala. 2018).

       Plaintiffs assert that the arbitration clause is procedurally unconscionable

because they had no meaningful choice but to sign it. The Alabama Supreme Court

has held that

       “[a] primary indicium of unconscionability in the modern
       consumer-transaction context is whether the consumer has the ability ‘to
       obtain the product made the basis of [the] action’ without signing an
       arbitration clause.” American General Finance, Inc. v. Branch, 793 So.
       2d 738, 750 (Ala. 2000) (quoting Green Tree Financial Corp. v.
       Wampler, 749 So. 2d 409, 415 (Ala. 1999)). In determining whether an
       arbitration agreement is procedurally unconscionable, we have looked
       at whether the consumer could obtain the product from the vendor or
       from another vendor without agreeing to an arbitration provision. See,
       e.g., Leeman v. Cook’s Pest Control, 902 So. 2d 641, and Branch, 793
       So. 2d at 750.

Rigas, 923 So. 2d at 1087 (alterations in original).

       Plaintiffs have not presented any evidence that they would have been unable

to build a home without signing an arbitration clause. They testified that Stoneridge

was the only builder constructing homes in the Midtowne on the Park subdivision,

and “[t]he only other neighborhoods in the area were either outside of our price range

(nearly twice the starting price of Midtowne’s), or restricted to residents age 55 or

greater.”40 Plaintiffs did not specify their price range, define the “area” to which they

       40
           Doc. no. 15-1 (Declaration of John Doe), ¶ 3; doc. no. 15-2 (Declaration of Jane Doe), ¶
3 (alteration supplied).

                                               -21-
       Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 22 of 24




confined their search, state how many builders they consulted before concluding that

all other subdivisions were outside their price range, or state whether other builders

were willing and able to accommodate their accessability needs. Importantly,

plaintiffs also did not state whether other builders would have required an arbitration

agreement. Thus, the best that can be said from the evidence in the record (which

plaintiffs had the burden to provide) is that plaintiffs did not have the option to

employ a builder within their preferred subdivision who would not require an

arbitration agreement. It would strain the doctrine of procedural unconscionability

too far to conclude that plaintiffs’ preference left them with no meaningful choice

about where to construct a home. See Bess v. Check Express, 294 F.3d 1298, 1308

(11th Cir. 2002) (plaintiff did not meet the burden of establishing unconscionability

when his evidence did not reveal how many competitors in the geographic area

required arbitration agreements); Powell v. AT & T Mobility, LLC, 742 F. Supp. 2d

1285, 1290 (N.D. Ala. 2010) (“The fact that ATTM’s wireless telephone service

contract, which included an arbitration provision, was the best contract available to

Powell ‘does not make the arbitration provision . . . unconscionable.’”) (citations

omitted, ellipsis in original); Leeman, 902 So. 2d at 646-47 (plaintiffs did not meet

their burden of proving procedural unconscionability when they did not state the

number of other potential service providers).


                                         -22-
        Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 23 of 24




       Plaintiffs also argue that the arbitration clause is substantively unconscionable

because it preserves Stoneridge’s right to pursue its claims in court while requiring

plaintiffs to submit to arbitration. See doc. no. 3-1 (Purchase Agreement), § 21

(excluding from the arbitration requirement “those claims by Seller against Buyer for

Buyer’s breach of this Agreement”).41 Both the Eleventh Circuit and the Alabama

Supreme Court have rejected that argument. See Bess, 294 F.3d at 1308 (“[L]ack of

mutuality does not, in and of itself, render the arbitration agreement

unconscionable.”)) (alteration supplied); Mason v. Acceptance Loan Co., 850 So. 2d

289, 301-02 (Ala. 2002) (same). Although plaintiffs would prefer a judicial forum,

there is no indication that arbitration would deprive them of any rights and remedies

to which they would be entitled in court. See Mason, 850 So. 2d at 302 (“[T]he effect

of any lack of mutuality of remedy in this case is tempered by the absence of any

limitations on what damages an arbitrator can assess against the defendants.”)

(alteration supplied).

                                     IV. CONCLUSION

       Plaintiffs entered into a valid agreement to arbitrate their claims against

defendants. Accordingly, defendants’ motion to compel arbitration will be granted.


       41
         Because both procedural and substantive unconscionability are required, Rigas, 923 So.2d
at1087, the lack of procedural unconscionability could end the analysis. Even so, for the sake of
completeness, the court will consider plaintiffs’ arguments regarding substantive unconscionability.

                                               -23-
      Case 5:18-cv-02101-CLS Document 17 Filed 04/16/19 Page 24 of 24




An appropriate order will be entered contemporaneously herewith.

      DONE this 16th day of April, 2019.


                                             ______________________________
                                             United States District Judge




                                      -24-
